Case 1:05-cr-01849-JCH Document 1771

Filed 12/14/09 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
VS.

DANA JARVIS, a/k/a Todd Ward,
AYLA JARVIS,

JORGE LUIS ORTIZ-MOFFETT,
MIKE HANNA,

RALPH GREENE, a/k/a “RB,”
GEORGE RIPLEY,

CATHY FITZGERALD,

DAVID REID,

PAT BERSSENBRUGGE,
BARBARA HANNA,

GEORGE OSGOOD, a/k/a “Mushroom
George,”

GREG HILL,

GENO BERTHOD, a/k/a “Old Man,”
RUSSELL TRUJILLO, a/k/a “Rusty,”

MATTHEW HOTTHAN, a/k/a “Matrix,”

MANUEL GIL,

SAM JONES,

SALVADOR ABEYTA,

BILL JONES, a/k/a Charles Johnston,
MARY CANNANT,

ADRIAN SANFORD,

Defendants.

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CRIMINAL NO. 05-1849 JH

RELEASE OF NOTICE OF LIS PENDENS

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The United States of America releases the Notice of Lis Pendens filed with the Office of

the County Clerk, County of Bernalillo, State of New Mexico, on August 26, 2005, with respect

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M. Toulouse Oliver, *bernalillo County

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to the property located at 8012 1* Street NW, Albuquerque, New Mexico, all of the lot or parcel
of land, together with its buildings, appurtenances, improvements, fixtures, attachments, and

easements thereon, A complete description of real property is listed as follows:

Lot “A-1" OF THE PLAT OF LOTS A-1 AND A-2, LANDS OF LARRY SWANK,
SITUATED WITHIN PROJECTED SECTION 22, T. 11 N., R.3 E., N.M.P.M.,
BERNALILLO COUNTY, NEW MEXICO, AS THE SAME IS SHOWN AND DESIGNATED ON
SAID PLAT FILED IN THE OFFICE OF THE COUNTY CLERK OF BERNALILLO COUNTY,
NEw MEXICO ON FEBRUARY 2, 1995.

GREGORY R. FOURATT
United States Attorney

a y A.

GYNTHIAY. WEISMAN
Assistant U.S, Attorney
P.O. Box 607
Albuquerque, NM 87103
Telephone: (505) 346-7274

WwW
Signed and sworn to before me this } g day
of September, 2009 by Cynthia L. Weisman
in Bernalillo County, New Mexico.

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NOTARY PUBLIC

My Commission Expires:

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